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IN THE UNITED STATES DISTRICT COURT JAN 1 6 2020
FOR THE DISTRICT OF MARYLAND gcaneanes
CLERK, U.S. DISTRICT COURT
BY DISTRICT OF MARYLAND DEPUTY

UNITED STATES OF AMERICA *
*
Vv. *
*

BRIAN MARK LEMLEY, JR., * CASE NO. 20-mj-192-CBD
*

PATRIK JORDAN MATHEWS, and * CASE NO. 20-mj-193-CBD
*

WILLIAM GARFIELD BILBROUGH * CASE NO. 20-mj-194-CBD
IV, *
*
*

Defendants
*

RKKKKKK

GOVERNMENT'S MOTION TO UNSEAL
The United States of America, by and through its undersigned attorneys, respectfully moves

to unseal the above-captioned case.
Respectfully submitted,

Robert K. Hur
United States Attorney

By: /s/
Thomas P. Windom
Assistant United States Attorney

It is so ORDERED, this R= of January 2020. Le)
LL, & A.

Hon. Charles B. Day
United States Magistrate rate

 
